 Case 1:18-cv-01413-JTN-ESC ECF No. 17 filed 03/11/19 PageID.175 Page 1 of 5



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

JOHN DOE,                                         :
                                                  :
                                 Plaintiff,       :
                                                  :   Civil Action No. 1:18-cv-1413
         v.                                       :
                                                  :   Hon. Janet T. Neff
MICHIGAN STATE UNIVERSITY,                        :
MICHIGAN STATE UNIVERSITY BOARD                   :
OF TRUSTEES; JOHN ENGLER, individually and        :
as agent for Michigan State University, KROLL     :
ASSOCIATES, INC., as agent for Michigan State     :
University, MARK EHLERS, individually and as      :
agent for Michigan State University, KENDRA       :
WALDSMITH, individually and as agent for          :
Michigan State University, ANDE DUROJAIYE,        :
individually and as agent for Michigan State      :
University, RICK SHAFER, individually and as      :
agent for Michigan State University, and DENISE
MAYBANK, individually and as agent for
Michigan State University,

                                 Defendants.

DEFENDANTS MICHIGAN STATE UNIVERSITY, MICHIGAN STATE UNIVERSITY
BOARD OF TRUSTEES, JOHN ENGLER, ANDE DOROJAIYE, RICK SHAFER AND
       DENISE MAYBANK’S PRE-MOTION CONFERENCE REQUEST
 Case 1:18-cv-01413-JTN-ESC ECF No. 17 filed 03/11/19 PageID.176 Page 2 of 5



               Plaintiff John Doe sues Michigan State University and its Board of Trustees,

MSU’s outside investigator Kroll Associates, Inc., as well as five MSU employees (“Individual

Defendants”), contending that they violated his constitutional, Title IX, and state law rights by

suspending him for sexually assaulting Jane Roe. Defendants Michigan State University, the

Michigan State University Board of Trustees, John Engler, Ande Dorojaiye, Rick Shafer and

Denise Maybank respectfully request a pre-motion conference to enable them to move to dismiss

his Amended Complaint. Given the length of Doe’s Amended Complaint—311 paragraphs and

7 counts—and this submission’s three-page limit, the below description of the Defendants’

arguments for dismissal as to each claim is necessarily brief, and the Defendants will more fully

set forth their arguments and legal authority in their motion to dismiss.

       1.      Count 1: 42 U.S.C. § 1983 Claim for Denial of Fourteenth Amendment Due
               Process Against Individual Defendants

               Doe contends that the Individual Defendants violated his constitutional right to

procedural due process, alleging primarily that MSU’s use of the “single-investigator” model and

other aspects of the school’s investigation of Roe’s allegations against him were unfair. MSU’s

adjudication in this case did not violate Plaintiff’s constitutional rights. Moreover, the Individual

Defendants are entitled to qualified immunity because Doe fails to adequately allege how any

particular Individual Defendant’s actions violated a clearly established due process right. The

Complaint shows that Doe was provided with adequate notice of the allegations against him, and

he has failed to show that he had a clearly established right to cross examine Roe.

       2.      Count 2: Title IX Claim Against MSU

               Doe maintains that, because he is a man and Roe is a woman, MSU erroneously

found him responsible for sexually assaulting her and did not investigate her for sexually

assaulting him. Doe fails to plausibly allege that his gender is what caused MSU to act as it did.



                                                 -1-
 Case 1:18-cv-01413-JTN-ESC ECF No. 17 filed 03/11/19 PageID.177 Page 3 of 5



In an effort to demonstrate this requisite causation, Doe points to September 2015 findings by

OCR that, he contends, pressured MSU to find all males accused of sexual assault guilty,

regardless of the evidence. But the September 1, 2015 OCR findings letter that Doe references

shows that MSU did not always find males responsible when accused of sexual assault. OCR

also agreed that, rather than pressuring MSU to find men guilty regardless of the evidence, MSU

found two males not responsible for allegedly sexually assaulting a female student. Moreover,

Plaintiff’s hearing took place years later, when a new U.S. President’s administration was

emphasizing respondent rights and criticizing the prior guidance, so it is implausible that MSU

would have engaged in gender bias against Doe to appease OCR.

       3.      Count 3: Violation of Fourteenth Amendment Equal Protection Against All
               Defendants

               Count 3 should be dismissed as to MSU and the MSU Board based on Eleventh

Amendment immunity. It should be dismissed as to the Individual Defendants because Doe has

not adequately alleged that any Individual Defendant engaged in intentional discrimination

and/or treated him differently than a similarly situated female due to Doe’s gender.

       4.      Count 4: State Law Estoppel and Reliance Claim Against MSU

               Count 4 should be dismissed based on Eleventh Amendment immunity.

       5.      Count 5: Violation of Due Process Rights Under Article 1, § 17 of the
               Michigan Constitution Against All Defendants

               Count 5 should be dismissed based on Eleventh Amendment immunity and

Michigan individual government immunity. It should also be dismissed because Michigan does

not permit claims against individual employees for state constitutional violations.

       6.      Count 6: Intentional Infliction of Emotional Distress Against All Defendants

               Count 6 should be dismissed as against MSU based on Eleventh Amendment

immunity and as against the individual defendants based on Michigan’s individual government


                                                -2-
 Case 1:18-cv-01413-JTN-ESC ECF No. 17 filed 03/11/19 PageID.178 Page 4 of 5



immunity. It also should be dismissed because Doe has not alleged any conduct that was

extreme or outrageous.

       7.      Count 7: Negligent Infliction of Emotional Distress Against All Defendants

               Count 7 should be dismissed as against MSU based on Eleventh Amendment

immunity and as against the individual defendants based on Michigan’s individual government

immunity. It also should be dismissed because Michigan only recognizes a cause of action for

negligent infliction of emotional distress when the plaintiff’s alleged distress is caused by

witnessing an injury to a third party.

                                                Respectfully submitted,

Dated: March **, 2019                           s/ Michael E. Baughman
                                                _____________________________
                                                Michael E. Baughman, Esq.
                                                Christopher R. Healy
                                                PEPPER HAMILTON LLP
                                                3000 Two Logan Square
                                                Eighteenth & Arch Streets
                                                Philadelphia, PA 19103-2799
                                                (215) 981-4000
                                                baughmam@pepperlaw.com
                                                Attorneys for Defendants Michigan State
                                                University, Michigan State University Board
                                                of Trustees, Ande Durojaiye, Rick Shafer, and
                                                Denise Maybank




                                                 -3-
 Case 1:18-cv-01413-JTN-ESC ECF No. 17 filed 03/11/19 PageID.179 Page 5 of 5



                               CERTIFICATE OF SERVICE

              I certify that on March **, 2019, pursuant to Local Rule 5.7, I filed the foregoing

Defendants’ Pre-Motion Conference Request through the Court’s Electronic Case Filing (ECF)

system.



                                            s/ Michael E. Baughman
                                            _____________________________
                                            Michael E. Baughman, Esq.
